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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION FILED

NOV 27 2024

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ra nae-michelle :ulrich Case No. 1:22-cv-O1848

Plaintiff,
Vv JUDGE DAVID A. RUIZ

FORD MOTOR COMPANY, et al.,

Defendants.

CONSTITUTIONAL CHALLENGE

i, ra nae-michelle :ulrich, do not and never did consent to a Presidential Election of The United
States of America, INC., after i was made fully aware that Abraham Lincoln & The Union
Adjourned Sine Die and rebranded our “nation under God” to sell us as slaves on paper to

Britain, the Vatican and now to the highest bidder (China, Iran).

I, i, ra nae-michelle :ulrich do not consent to Presidential Elections, fraudulent Income tax or

the Bureau of Motor Vehicles. The people are going back to Private Automobile Ownership.

This is our way forward, “BACK TO THE FUTURE?” plan! The Oligarchs have held humanity

back long enough.

i, ranae-michelle :ulrich do not consent to being a slave to any entity, corporation or genocidal/
homicidal fictional government or their partners. Including but not limited to the U.N., NATO,

W.E.F., W.H.O., N.I-H., NASA etc,
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“Covid’monster was and is a copycat crime. Hitler also faked an emergency, but it was a fire.
How dare thee plot terror on thy neighbor. & Massive plots against nations of peaceful people.
Do you know why i do not have a B.A.R. attorney?

Because I HATE being lied to. Or coerced in any way, or bullied or medically kidnapped for a

Billionaire Boy Club election.
i hate being mind raped, or my streets being littered with political smut of hate and divisiveness!

i do not consent to Trump or Biden or Harris or even the Easter Bunny as a President of The
United States of America, INC. Or any celebrity cult. Nor do I participate in idol worship. i do

not.

i also do not consent to “medical experiments” that are not kosher.

i do not consent to any minuet, tiny smallest fraction of a violation of The Nuremberg Code!
i know plenty of men with money, i was not suing Ford Motor Company for money!

i was suing Ford to SAVE FORD from their own demise of following The United States of

Domestic and Foreign TRAITORS!

BECAUSE IT IS “TREASON SEASON”!

No boys and girls! This was and is an investigation by The Stark County Committee of Safety!

Of the people, by the people and for the people. This is a audit of the Justice System and social
experiment of the power of a lie and the continued use of MK Ultra for Mass Psychosis

Colonization.

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Currently, i, ran ae-michelle -:ulrich, am the President of a Non-Profit Radio Station with special

Press Rights and a F.C.C, license.

But “The Cain Man”, Frank Incense well he wants to be a Pirate when he grows up. And i think

that is the perfect Hanukkah/Christmas present for him especially when i know:

1. That a license is when the government takes away your right to do something and then

sells it back to you.

2. That there is not a man or woman on this planet or any other orbits, that knowingly,

willingly and voluntarily consented to being a “U.S. Citizen” at birth!

I am not crazy, but this fictional monopoly WAR game and your elections are fronimo killing us.

But i believe The United States of America, INC has committed their LAST WAR CRIME

against a peaceful people, a nation under God!

When Kamala confessed that she could ruin someone else’s life with just the stroke of her pen,

and make them lose their job even if she dismissed the charges later.

You let that warlock know, I HAVE LOTS OF PENS!!! AND [TOO KNOW THAT THE PEN

IS MIGHTIER THAN THE SWORD!

Now that I have your undivided attention. Ladies and gentlemen, boys and girls.........
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CONSTITUTIONAL QUESTION

1. The Constitution states, that “all: men are created equal”.

(a) That would mean one (1) man could not rule over another.

(b) It states nothing about the WOMEN

(c) Because women are NOT equal to men.

(d) Real women do what Real men can not

2. How could a man, a President or a B.A.R. attorney re present me, a living woman?

3. ido not consent to The United States of America, INC.

4. iand we the people intend to overturn all theft, including intellectual property from the

true “united states” of America. The Republic. It is not a democracy or a Trojan horse,

5. We the people need a new free world leader that is equal to them.

Why don’t you all go plot the controlled demolition of The White House, the last

plantation of slavery on our land. And every building from here to Antarctica. Just like

you all plotted and planned and carried out the demolition of

1,

2.

3.

The Twin Towers Trade Center
Cleveland Casting Plant

The Aluminum Foundry

Cleveland Engine Plant 2

Is Walton Hills and Lorain still standing?

Your fake moon landing expeditions.

Why don’t you really go and explore space (without a helmet) and the Ocean with a millstone.

Do you know what is a strange coincidence?

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When Wired released that NEAR had all the cell phone data of Epstein Island visitors because a
whistleblower left it open on the internet (or a white hat), it had mapped out where they all

returned to and spent their day and night.

{ronically, one of the top 3 or so locations of where they returned home to was rich gated
communities in Michigan! I was shocked! Because i really believed it would have been
Columbus Ohio. You know because of Les Wexner, the owner of Victoria’s Secret. One of my
first employers, who funded Epstein as the fall guy. The Columbus Police are openly telling their
friends and the streets that he is a really bad man. How come poor Ghislaine is just sitting in

there without Hillary Clinton or Les or Tom Hanks? The Red Shoe Club.

Based on the NEAR Data the European Union is keeping ALL THEIR DATA to themselves. It
may seem that the E.U. is the one Black-mailing American Politicians and Businessmen, while
the bad boys all know exactly who or W.H.O. they are being black mailed by. While America

points the finger at Israel (the Land/not the State) and Russia.
It is their Gig to Rig!
But NEAR showed another hot spot of Epstein visitors were from KEIV, UKRAINE!

The slavery of women and children and men is coming out into the light to be exposed and

expelled.

No more secret cults, or the Vatican’s message of drinking blood and eating the flesh. We have

had enough of the Roman Empire wanting to be Judas, Sodom & Gomorrah & Hitler.

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i do not consent to Trump being my President because he has never disavowed the freemasons.
And i don’t think he knows that much about the Republic. And he eats Bili Gates McDonald’s

Fries, not kosher.

In Closing

The Last Plantation of Slavery on American Land and Soil known as Washington D.C. needs to
be transitioned to The Kingdom of America. A nation restored under G-d! A nation reformed

with a spiritual renaissance. A nation happy, peaceful and safe. A nation that keeps its promises.
A nation that is a dream not sold for a lie. Justice for All!

The Patriarch of sin, hate and division is just a house of cards, The Patriarch and it’s War

Machine DISTURB MY PEACE!

The Nazi War Machine disturbs the collective peace through psychological war practices of
propaganda through or Television, Radio, newspapers with lies, disease, deceit and duress of
coercion. Dr Mengele, Rockefeller, Ford helped the Nazis move to America, UNGERMANY

1945 MY AMERICA!
Psychological Wars are “Mind Rape”, “GangStalking”& War Crimes!
Guns? - I don’t care about guns!

iam either having Heaven on Earth or i am going to Heaven as an Icon like MLK Jr, or even
Jesus to find out everything i don’t know. But when i get to my Master, He, She and they

(Elohim) are going to say,’Weil done!

Kamala was right, How dare YOU say Merry Christmas! Happy Hanukkah!

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Baruch Hashem! Shalom!

Sincerely and Truthfully,

Da. mar- muhelle < Ubvok

ra nae-michelle :ulrich living woman

RaNae M. Ulrich

Signed November 27, 2024 / 5785
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the foregoing was served
by regular U.S. mail, postage pre-paid on November 27, 2024 upon the following:

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